                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 QURAN HERRINGTON, on behalf of                        :
 himself and all others similarly situated,            :             No. 24-cv-4902-JMY
                                                       :
                v.                                     :
                                                       :
 SOLID WASTE SERVICES, INC., d/b/a JP                  :
 MASCARO & SONS,                                       :


                                        SCHEDULING ORDER

        AND NOW, this 3rd day of December, 2024, upon consideration of the parties’ Joint

Report of Rule 26(f) Meeting (ECF No. 11), and the representations made by counsel at the Rule

16 conference held on this date, it is ORDERED as follows:

        1.      The parties shall comply with the following deadlines:

                a.         Phase I of discovery, concerning the merits of Plaintiff’s claims, shall be

completed by Friday, February 28, 2025.

                b.         The parties shall produce their expert report(s), concerning the merits of

Plaintiff’s claims, by Friday, March 14, 2025; rebuttal expert report(s) shall be produced by

Friday, March 28, 2025; expert discovery, concerning the merits of Plaintiff’s claims, including

depositions of expert witnesses, shall be completed by Friday, April 11, 2025.

                c.         Motions for summary judgment and Daubert motions, concerning the

merits of Plaintiff’s claims, shall be filed no later than Monday, May 5, 2025. Responses to

such motions shall be filed no later than Monday, June 2, 2025.

                d.         Pending the Court’s decision on the parties’ motions for summary

judgment, the Court may issue further deadlines for Phase II of discovery, concerning

class/collective issues.
         2.   This case is referred to United States Magistrate Judge Carol Sandra Moore-Wells

for settlement purposes. Judge Moore-Wells will contact counsel to initiate the settlement

process. As a general rule, the Court will not extend or stay the foregoing case management

deadlines pending the conduct of settlement discussions.

         3.   Counsel are referred to Judge Younge’s operating procedures for further

information: http://www.paed.uscourts.gov/judges-info/district-court-judges/john-milton-

younge

         IT IS SO ORDERED.



                                                    BY THE COURT:

                                                     /s/ John Milton Younge
                                                    JUDGE JOHN MILTON YOUNGE
